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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                      Case No. 1:19-cv-25154

 Allan H. Applestein, an individual, and
 Diatomite Corporation of America, a Maryland                JURY TRIAL DEMANDED
 Corporation,

                Plaintiffs,
 v.

 Howard Kleinhendler, an individual,
 Wachtel Missry LLP, a limited liability
 partnership, and DOES 1 through 5,

             Defendants.
 ________________________________________/

                                           COMPLAINT

        Plaintiffs, Allan Applestein and Diatomite Corporation of America hereby file the

 following Complaint against defendants, Howard Kleinhendler and Wachtel Missry LLP

 (collectively, “Defendants”), alleging as follows:

        1.     Plaintiff Allan Applestein is an individual, born in 1932, who resides in Aventura,

 Florida. He was a member of the second graduating class of Brandeis University and then went

 on to graduate from Harvard Law School. He was admitted to practice law in Maryland where he

 practiced for only a short time before transitioning into a business career and moving to Florida.

 Applestein became very successful in business as an investor. Among other enterprises, he is the

 founder and principal of Plaintiff Diatomite Corporation of America (“DCA”). In 2015, Applestein

 experienced a steep decline in health and began to succumb to his age and was eventually

 diagnosed with Alzheimer’s disease. He has undergone competency proceedings and has even

 been equipped with a LoJack device so that he could be found when he would get lost. Since 2015
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 he has had round-the-clock care: a live-in caregiver; a full-time chauffeur; and an office manager,

 who attend to him around-the-clock.

        2.      Plaintiff DCA is a Maryland corporation with its principal place of business in

 Aventura, Florida. Unless otherwise stated, Applestein and DCA shall be collectively referred to

 throughout this Complaint as “Applestein.”

        3.      Defendant Howard Kleinhendler is an individual residing in Lakewood, New

 Jersey. He is an attorney at law and partner at Defendant Wachtel Missry LLP. He graduated from

 Touro College and then received his J.D. from Temple University School of Law.

        4.      Defendant Wachtel Missry LLP (the “Wachtel Firm”) is a limited liability

 partnership with its principal place of business in New York, New York. The Wachtel Firm

 describes itself as a law firm experienced in the fields of real estate, corporate, litigation, family

 law and intellectual property. At all times mentioned herein, the Wachtel Firm approved or ratified

 the acts of its partner and agent, Kleinhendler. At all times mentioned herein, Kleinhendler was

 acting as a partner of an agent for and on behalf of the Wachtel Firm.

        5.      Plaintiffs are informed and believe, and thereon allege, that at all times herein

 mentioned, Defendants and Does 1 to 5, inclusive, and each of them, were the agents, joint

 venturers, partners, representatives, or employees of each other and, in doing (or failing to do) the

 things alleged herein, were acting within the course, purpose, and scope of their agency, joint

 venture, partnership, representation, or employment. The acts, omissions, and conduct alleged

 herein of each such Defendant were known to, authorized, and ratified by each such other

 Defendant. Plaintiffs further allege, in the alternative, that some or each of the Defendants acted

 at times independently of all other Defendants to cause damage and injury to Plaintiffs.




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         6.     Plaintiffs are presently unaware of the true names and capacities of the defendants

 sued herein as Does 1 through 5, inclusive, and therefore sues each of those defendants by fictitious

 names. Plaintiffs will seek leave to amend this complaint to allege the true name and capacity of

 each Doe defendant when ascertained. For convenience, all references herein to “Defendants”

 shall be deemed to include all fictitiously named defendants, and each of them, unless otherwise

 specifically alleged. Plaintiffs allege on information and belief that each Doe defendant is, in some

 manner, legally responsible for the acts alleged in this complaint and has proximately caused harm

 and injury to Plaintiffs.

         7.     All references hereafter to “Defendants” shall be deemed to include all Defendants,

 and each of them, unless otherwise specifically alleged.

                                     I. Jurisdiction and Venue

         8.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332, as Plaintiffs and

 Defendants are citizens of different states and the amount in controversy exceeds $75,000.00

 exclusive of attorneys’ fees and costs.

         9.     Venue is proper in this district pursuant to 28 U.S.C. § 1391, because a substantial

 part of the events or omissions giving rise to these claims occurred in the State of Florida. For

 example, Applestein resided in Dade County at all times material to this Complaint and never

 traveled outside of Florida and the instruments and agreements Plaintiffs executed were executed

 in the State of Florida. Kleinhendler traveled to Dade County numerous times during the time

 period alleged in the Complaint and signed the instruments and agreements at issue in this case

 within the State of Florida. The legal malpractice, breaches of fiduciary duties, and fraudulent

 transactions occurred in the State of Florida at the direction of Defendants.

         10.    All conditions precedent to the prosecution of this action have been satisfied,



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 fulfilled, extinguished, waived or otherwise executed.

                                     II. Factual Background

        11.    In 1958, a then 26-year-old Applestein purchased approximately 1,000 acres of land

 in Richmond County, Virginia. The storied piece of land is known as the Fones Cliff Land (“Fones

 Cliff Land”). It lies within a four-mile cliff formation along the eastern side of the Rappahannock

 River and contains white diatomaceous earth that was formed millions of years ago.

        12.    In late 2010 Applestein first engaged the Wachtel Firm and Kleinhendler as his and

 DCA’s attorney. Applestein was already 78 at the time he engaged the Wachtel Firm. Applestein

 paid a one hundred-thousand dollar retainer ($100,000.00) to the Wachtel Firm on December 30,

 2010. Despite starting out with a limited-scope engagement, Defendants continued rendering

 services as his attorney from 2010 until the spring of 2019. Applestein continued to make payments

 to Defendants for legal services rendered over the course of time, which totaled approximately one

 hundred seventy-five thousand dollars ($175,000.00). At all times material to this Complaint,

 Defendants Kleinhendler and the Wachtel Firm represented and maintained an attorney-client

 relationship with both Alan H. Applestein, personally, and DCA.

        13.    From the time the Wachtel Firm and Kleinhendler first began representing

 Applestein, Applestein’s physical and mental condition required that he have a live-in caregiver,

 Edward Brooks (“Brooks”). Brooks worked around the clock to take care of Applestein.

 Applestein also had a full-time chauffeur, Jose Antonio Jimenez (“Jimenez”). Kleinhendler knew

 each of them well.

        14.    Around 2013, Applestein, then 81 years old, sought to sell or develop the Fones

 Cliffs Land. Applestein, of course, sought the legal advice and counsel of his trusted attorneys

 Kleinhendler and the Wachtel Firm to handle the transaction and represent him in connection with



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 this effort. Defendants accepted the representation and performed services in connection with it.

 Various sales opportunities arose over time, including the following:

                A.     At one point, Peter M. Jarowey (“Jarowey”) became interested in purchasing

        the Fones Cliffs Land. Jarowey first made an offer to buy the Fones Cliffs Land in 2013

        for $8.3 million. At that time Kleinhendler had come up with an idea to develop the land

        and convinced Applestein to pursue Kleinhendler plan and terminate the deal with Jarowey.

        During these discussions with Jarowey, Kleinhendler described himself to Jarowey and

        others as Applestein’s lawyer, and Jarowey recognized Kleinhendler as Applestein’s

        attorney and counselor in his correspondence with Applestein.

                B.     Eventually, Jarowey improved his offer to purchase the Fones Cliffs Land,

        increasing the purchase price to $12.5 million in cash. Kleinhendler, wanting to scuttle the

        deal so that he could get control of the Fones Cliffs Land, accused Jarowey of creating a

        fraudulent transaction in order to secure the funds necessary to complete the transaction.

        Kleinhendler made this accusation during a telephone conversation with Applestein and at

        least one other person. Kleinhendler strongly urged Applestein to pass on the deal and was

        successful in dissuading Applestein from pursuing the deal with Jarowey. Following the

        counsel and legal advice of his trusted lawyer, Applestein rejected Jarowey’s offer of $12.5

        million in cash.

                C.     Sometime later, in and about 2015, DCA entered into an agreement to sell

        the Fones Cliffs Land to the Chesapeake Conservancy.             However, the Chesapeake

        Conservancy was ultimately not able to obtain the funds necessary to complete the

        purchase and the deal terminated.

                D.     Further confirming that Kleinhendler was Applestein’s attorney for this



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         matter, he made time entries in the Wachtel Firm’s billing system regarding the attorney-

         services he rendered in connection with the sale of the Fones Cliffs Land. The Wachtel

         Firm even apparently re-invoiced Applestein in 2018 for the work Defendants performed

         in 2015. Because Applestein had already paid for the services, Kleinhendler directed the

         Wachtel Firm to retract the invoice.

         15.    Applestein’s health, which had been diminishing due to the onset of Alzheimer’s

 disease, started taking a steeper decline in 2015. Sensing that Applestein’s declining health and

 mental condition presented an opportunity, Kleinhendler engaged in a yeoman’s effort to ingratiate

 himself to Applestein.

         16.    Kleinhendler would make periodic visits to Applestein’s home, nominally to keep

 him company. But that was a pretense, which he used to foster Applestein’s trust and friendship,

 all the while Kleinhendler was attempting to gather information about Applestein’s personal life

 and financial affairs.

         17.    In each of these visits, Kleinhendler would inquire diligently of Applestein’s staff

 of his health condition, family relationships, and other information about Applestein’s business

 affairs and assets. He regularly inquired of Betz Guzman (“Guzman”), who served effectively as

 DCA’s chief operating officer and Applestein’s personal business manager, of Applestein’s

 physical and mental state of health. Kleinhendler also pumped Jimenez for information. On several

 occasions, Jimenez reported to Guzman that the nature of the questions Kleinhendler asked made

 him suspicious of his motives and intentions: “It made me very uncomfortable,” Jimenez would

 tell Guzman, “so I told him I was just the driver and I do not know any of those things.”

         18.    Under Kleinhendler’s carefully laid plan, the idea ultimately became a formal

 proposal to rezone the Fones Cliffs Land submitted to the Richmond County Board of Supervisors.



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 That proposal originated with and was managed and controlled by Kleinhendler. The grandiose

 plan included a mixed-use proposal to develop the property for 718 homes and townhouses, 18

 guest cottages, an 18-hole golf course, 116-room hotel, restaurant, a small commercial center, a

 skeet and trap range, equestrian center with stables, a 10,000 square foot community barn, and

 seven piers along the river.

         19.    Eventually, Kleinhendler made a pitch to his client that instead of selling the Fones

 Cliffs Land to another buyer or developing it himself, Applestein should sell it to Kleinhendler

 and let Kleinhendler develop it. Kleinhendler did not advise Applestein of the inherent

 conflicts of interests in such a transaction. Moreover, because of Applestein’s “major neuro-

 cognitive disorder,” as it was described by his geriatric psychiatrist, Applestein could not

 independently evaluate whether there were conflicts.

         20.    By the time of Kleinhendler’s plan to acquire the Fones Cliffs Land, Kleinhendler

 had spent enough time with Applestein to have observed his declining health. Nevertheless, Dr.

 Andrea Bivens (“Bivens”), one of Applestein’s daughters, had expressly warned Kleinhendler that

 her father’s health was declining and of his diminished capacity. Applestein had once been a hyper-

 focused and deliberate man, but by the time Kleinhendler proposed the land development deal,

 Applestein did not have the mental capacity to appreciate it and he could not even sit still to partake

 in the discussions. Applestein seldom even spoke in the various meetings. Kleinhendler observed

 all of this behavior.

         21.    Since Kleinhendler started working for Applestein in 2010, Kleinhendler knew that

 Applestein was not close with his daughters and were not involved in his business dealings.

 Applestein was fiercely independent and would never have allowed Bivens to be involved in his

 business dealings. Bivens’ involvement in the transaction was a significant departure from past



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 practices and would have been yet another clear indicator to Kleinhendler of Applestein’s

 declining mental state.

        22.    Indeed, during that same time period, Dr. Marc Agronin, the Senior Vice President

 for Behavior Health at Miami Jewish Health who was Applestein’s geriatric psychiatrist, had

 already advised the family to draw up powers of attorney, to assist them in managing Applestein’s

 affairs. Kleinhendler was also aware of this because the family had to engage a family and estate

 planning attorney to handle that matter.

        23.    Robert C. Smith, (“Smith”) an attorney working on the zoning aspects of the

 potential land-development deal, knew that Kleinhendler was angling to acquire the property while

 he was also acting as elderly Applestein’s lawyer: “[t]hroughout the zoning process, my contact

 with Diatomite was mostly conducted through Howard Kleinhendler, a New York Lawyer, who

 also represented Diatomite and its owner, Alan [sic] Applestein.” Declaration of Robert C. Smith

 at ¶ 29, In re: Virginia True Corporation Case No. CL19-42769 (Bankr Ct ED NY 2019). (A true

 and correct copy of Smith’s declaration is attached hereto as Exhibit A) What is more, Smith

 advised and discussed the conflicts of interests with Kleinhendler that were raised by his attempt

 to acquire the Fones Cliffs Land from his elderly client, but Kleinhendler disregarded Smith’s

 warnings.

        24.    A Florida attorney, Marian L. Hasty (“Hasty”), was engaged on March 21, 2016, to

 handle certain estate planning matters for Applestein, and she communicated with Kleinhendler

 leading up to the purchase of the Fones Cliffs Land. Applestein advised Hasty that Kleinhendler

 was his lawyer in connection with the Fones Cliffs Land. She also learned directly from

 Kleinhendler that he was Applestein’s lawyer generally and specifically in connection with the

 sale of the Fones Cliffs Land. (A true and correct copy of Hasty’s affidavit is attached as Exhibit



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 B)

          25.   Despite all this, Kleinhendler proceeded with his plan to acquire the Fones Cliffs

 Land from Applestein. He cared not at all that he was still Applestein’s lawyer. On the contrary,

 he abused that relationship of trust putting his self-interest above his ethical duties to his client,

 ultimately at great cost to his client. Kleinhendler could have terminated the attorney-client

 relationship but did not.

          26.   Kleinhendler held himself out to Applestein and others as Applestein’s lawyer,

 corresponded through the Wachtel Firm e-mail address, and used the Wachtel Firm signature block

 on all his emails. He did not even disclose the conflicts of interest to the elderly Applestein or

 seek to secure a waiver through informed consent, if this conflict was even waivable in the first

 place.

          27.   Kleinhendler’s actions and conduct evidenced that he cared not at all about

 Applestein’s age and diminished mental capacity. On the contrary, Kleinhendler used his client’s

 condition to aid him in his quest to take advantage of Applestein.

          28.   Kleinhendler’s plan culminated in the spring of 2017. Kleinhendler organized an

 entity—Virginia True Corporation (“Virginia True”) to purchase the property. Kleinhendler also

 structured the financing for deal, and drafted all the documents, all the while continuing to

 represent Applestein. At one point, he confirmed his continuing legal representation of Applestein

 telling Bivens: “I love your dad. I am his attorney.”

          29.   Kleinhendler ultimately advised his client that the deal should be structured as a

 seller-financed transaction. Applestein would receive a cash payment of $5 million at closing and

 finance the remaining balance of $7 million through a loan to be evidenced by an unsecured

 promissory note.



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         30.    According to Dr. Agronin, by 2017 Applestein’s condition had diminished so

  significantly that “any lay person would have seen his impairment.” Yet, Kleinhendler further

  persuaded his elderly and infirm client that there was no need to obtain a lien or purchase money

  security interest in the Fones Cliffs Land as collateral for the loan. When asked (on more than one

  occasion) by Bivens and other Applestein representatives about a mortgage against the property to

  secure the repayment of the amount due, Kleinhendler specifically and repeatedly advised his

  client that a lien on the Fones Cliffs Land was unnecessary and would make the planned

  development of the land more difficult.

         31.    Kleinhendler tried to further justify the lack of security by crafting a nonsensical

  provision in the contract of purchase and sale that seemed to require that any mortgage given by a

  golf course developer would be transferred to Applestein or otherwise used to pay down the

  purchase money promissory note. The provision is nonsensical. Any subsequent mortgage on the

  land is not an asset of Kleinhendler or Virginia True that could be “applied” against the promissory

  note. Yet Kleinhendler passed this off to his client advising and representing to him that it was a

  mechanism that would be for Applestein’s protection and would provide him with security for the

  repayment of the amount due.

         32.    Based on false, conflicted, and misleading legal advice and counsel, Kleinhendler

  was able to close a deal to have Virginia True acquire the Fones Cliffs Land, but not without a

  last-minute promise that Applestein’s family was able to secure from Kleinhendler. Kleinhendler

  made an express promise, via a “side letter,” not to encumber the Fones Cliffs Land without

  Applestein’s prior approval.

         33.    Kleinhendler traveled to Florida to have the contract for sale, promissory note, the

  side letter and other necessary transaction documents signed by Applestein. He even went to lunch



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  with Guzman, Brooks, and Jimenez, where they all witnessed Applestein’s patent inability to feed

  himself, wipe his face, or concentrate for any length of time, or otherwise conduct legal or financial

  business. Kleinhendler still went forward with the deal and, on April 27, 2017, accepted the papers

  signed by his elderly, infirm, and unaware client—the same client he expressed his love for.

         34.     At the time of closing, Kleinhendler also persuaded Applestein to lend him five

  hundred thousand dollars ($500,000.00) (the “Kleinhendler Loan”). The loan was evidenced by a

  five hundred thousand dollar ($500,000.00) promissory note executed by HK Consulting Group,

  LLC, a New Jersey limited liability company that operates from Kleinhendler’s home address. No

  security was given for the loan and Kleinhendler did not guarantee its repayment. Kleinhendler

  and the Wachtel Firm represented Applestein in connection with the making and documentation

  associated with the five hundred thousand dollar ($500,000.00) Kleinhendler Loan.

         35.     The family representatives felt some relief after having obtained the assurances of

  Kleinhendler that the side letter provided Applestein with meaningful and adequate protection for

  the payment of the loans. Kleinhendler, however, never intended to live up to his promise not to

  encumber the Fones Cliffs Land without Applestein’s approval.

         36.     On the very same day that Kleinhendler was executing the deal with his and the

  Wachtel Firm’s client to acquire the Fones Cliffs Land, promising to never encumber the land

  without Applestein’s prior approval, he was signing a conflicting agreement with two investors of

  Virginia True. Unbeknownst to Applestein, Kleinhendler entered into a deal with these investors

  in which he purported to allow them to impose a lien upon the property and leave Applestein with

  no contractual protection or security for the recovery of the amount of the loans.

         37.     Kleinhendler’s investors in Virginia True, Domenick and Anthony Cipollone (the

  “Cipollones”) had agreed to pay $5 million in cash as an equity investment in Virginia True and



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  entered a Stockholder’s Agreement on April 27, 2017 (the “Stockholder’s Agreement’). (A true

  and correct copy of the Stockholder’s Agreement is attached as Exhibit C) The Cipollones agreed

  to purchase thirty two percent (32%) of the stock of Virginia True for their $5 million cash

  payment.

         38.    Kleinhendler never disclosed the Stockholders Agreement to Applestein and never

  told him about the Cipollones, any other investors or financiers that he had, or even whether he

  had any other financiers or investors. On information and belief, the Cipollones were informed by

  Kleinhendler that Kleinhendler was the attorney for Applestein representing Applestein, DCA, and

  the Fones Cliffs Land.

         39.    Neither Applestein (nor any of his caretakers) knew at the time, that the

  Stockholder’s Agreement purported to provide the Cipollones the right to convert their $5 million

  equity investment in Virginia True into debt and encumber the sole tangible asset of Virginia

  True—the Fones Cliffs Land—with a mortgage if they did not receive a return of their capital

  investment within 18 months.

         40.    The Cipollones demanded a return of their capital from Virginia True. After

  numerous demands by the Cipollones and the filing of a lawsuit, Kleinhendler caused Virginia

  True to execute a deed of trust in favor of the Cipollones. On December 12, 2018, the deed of

  Trust was recorded. (A true and correct copy of the Deed of Trust is attached as Exhibit D)

         41.    Despite his promises to the contrary, Kleinhendler facilitated and consented to the

  recording of a mortgage against the Fones Cliffs Land. Despite his advice and recommendation

  that a mortgage was unnecessary and that Applestein’s security derived through other mechanisms,

  Applestein was not protected.

         42.    The situation was so terrible, Robert Smith observed: “Sometime after closing and



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  after I had withdrawn from representing Virginia True due to Kleinhendler and Fernandez’s

  dishonesty and misrepresentations, I began to wonder if Kleinhendler had taken advantage of Mr.

  Applestein” Exhibit A at ¶ 31.


                                  COUNT I: LEGAL MALPRACTICE
                                      (Against all Defendants)

            43.     Plaintiffs re-allege and incorporate paragraphs 1 through 42, as if fully set forth

  herein.

            44.     At all material times, there was an attorney-client relationship between Defendants

  and Plaintiffs.

            45.     Defendants failed to exercise that degree of care, skill, and diligence commonly

  possessed and exercised by an ordinary member of the legal community.

            46.     Defendants failed to inform Plaintiffs of the inherent conflicts of interest because

  Defendants’ interests were adverse to theirs.

            47.     As a direct and proximate result of Defendants’ acts and omissions, Applestein has

  and will continue to incur such damages, in an amount to be determined according to proof at trial,

  but at least in excess of $7,724,200.36.

          48.    But for Defendants’ negligence, Applestein would not have suffered the damages
  he has suffered.


                                 COUNT II: LEGAL MALPRACTICE
                                      (Against all Defendants)

            49.     Plaintiffs re-allege and incorporate paragraphs 1 through 42, as if fully set forth

  herein.

            50.     At all material times, there was an attorney-client relationship between Defendants

  and Plaintiffs.


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            51.   Defendants failed to exercise that degree of care, skill, and diligence commonly

  possessed and exercised by an ordinary member of the legal community.

            52.   Defendants failed to advise Applestein of the prudence of having a mortgage, deed

  of trust, or other form of security to secure payment of the purchase price in the seller-financed

  transaction.

            53.   Defendants negligently advised Applestein that a mortgage, deed of trust, or other

  form of security to secure payment of the purchase price in the seller-financed transaction could

  not be provided because of the type of development project Defendants were contemplating.

            54.   As a direct and proximate result of Defendants’ acts and omissions, Applestein has

  and will continue to incur such damages, in an amount to be determined according to proof at trial,

  but at least in excess of $7,724,200.36.

          55.    But for Defendants’ negligence, Applestein would not have suffered the damages
  he has suffered.


                          COUNT III: BREACH OF FIDUCIARY DUTY
                                    (Against all Defendants)

            56.   Plaintiffs re-allege and incorporate paragraphs 1 through 42, as if fully set forth

  herein.

            57.   Defendants have a fiduciary relationship with Plaintiffs through Kleinhendler, who

  held himself out to be and was Plaintiffs’ lawyer.

            58.   The Wachtel Firm and Kleinhendler breached their fiduciary duties when

  Kleinhendler acted against the best interests of Plaintiffs, gave no regard to protect his clients’

  interests, and encouraged Plaintiffs to agree to a risky and less favorable deal than had been

  previously offered.

            59.   Defendants breached their duties of care, loyalty candor, rectitude, and good faith


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  to Plaintiffs by negotiating and entering a transaction where Defendants’ interests were adverse to

  Plaintiffs.

            60.   As a direct and proximate result of Defendants’ acts and omissions, Plaintiffs have

  and will continue to incur such damages, in an amount to be determined according to proof at trial,

  but at least in excess of $7,724,200.36.

            61.   The acts and conduct of Defendants constitute a breach of fiduciary duties owed to

  Plaintiffs and were oppressive, fraudulent, and malicious. Defendants did not act in good faith

  with a view to the best interests of Plaintiffs. By their conduct as specified above, Defendants

  acted in bad faith and breached their fiduciary duties to Plaintiffs. Applestein, therefore, seeks an

  award of punitive damages.

                                    COUNT IV: ELDER ABUSE
                                      (Against all Defendants)

            62.   Plaintiffs re-allege and incorporate paragraphs 1 through 42, as if fully set forth

  herein.

            63.   Defendants committed elder abuse under Florida Statutes sections 415.1111 and

  825.103. At all material times, Applestein was a vulnerable adult.

            64.   Defendants stood in Applestein’s trust and confidence.

            65.   Defendants exploited Applestein by knowingly deceiving him for the purpose of

  obtaining the Fones Cliffs Land with the intent to deprive Applestein of the use, benefit, value, or

  possession of the Fones Cliffs Land.

            66.   Defendants also knew or should have known that Applestein lacked the capacity to

  consent to Defendants’ plan to obtain the Fones Cliffs Land with the intent to deprive Applestein

  of the use, benefit, value, or possession of the Fones Cliffs Land.

            67.   As set forth above, Defendants breached fiduciary duties that they owned to

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  Applestein.

            68.   As a direct and proximate result of Defendants’ exploitation of a vulnerable adult,

  Applestein has and will continue to incur such damages, in an amount to be determined according

  to proof at trial, but at least in excess of $7,724,200.36.

            69.   In doing the acts herein alleged, Defendants acted with oppression, fraud, and

  malice, and Applestein is entitled to an award of punitive damages.

                                         COUNT V: FRAUD
                                        (Against all Defendants)

            70.   Plaintiffs re-allege and incorporate paragraphs 1 through 42, as if fully set forth

  herein.

            71.   Defendants committed both common law fraud and statutory fraud under Florida

  Statutes sections 812.012-037 and 772. Defendants deceived and defrauded Plaintiffs through

  false representations, concealment, and non-disclosure during the performance of the acts

  described herein and in failing to perform the acts described herein.

            72.   Defendants falsely stated numerous material facts to Applestein and his caretakers.

  Namely, Kleinhendler specifically represented that Plaintiffs did not need to receive security

  interest when selling the Fones Cliffs Land, he specifically represented that Plaintiffs could not

  have a security interest in the Fones Cliffs Land because of the nature of the proposed development

  project; and Kleinhendler specifically represented that he would not permit any lien or other

  encumbrance to be voluntarily placed upon the Fones Cliffs Land without the prior consent and

  approval of Applestein even in the absence of a security agreement. None of those representations

  was true. Kleinhendler also specifically stated that the Jarowey deal was fraudulent, when in fact,

  it was not.

            73.   Kleinhendler also failed to disclose material facts that he had an obligation to

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  disclose. For example, he failed to disclose that the $5 million down payment against the purchase

  price was supplied through an equity investment into Virginia True, when in fact it was purported

  to be equity convertible to debt on a fixed schedule.

            74.   Defendants knew the above representations were false at the time they were made.

            75.   It was Defendants’ intent to deceive and defraud Plaintiffs in order to induce his

  reliance upon the misrepresentations that Defendants made with the express purpose of inducing

  Plaintiffs to sell Virginia True the Fones Cliffs Land.

            76.   Plaintiffs reasonably relied upon Defendants’ misrepresentations to his detriment

  and damage.

            77.   As a direct and proximate result of Defendants fraud, Plaintiffs have and will

  continue to incur such damages, in an amount to be determined according to proof at trial, but at

  least in excess of $7,724,200.36.      In doing the acts herein alleged, Defendants acted with

  oppression, fraud, and malice, and Plaintiffs are entitled to an award of punitive damages.

                              COUNT VI: UNJUST ENRICHMENT
                           (Against all Kleinhendler and DOES 1 through 5)

            78.   Plaintiffs re-allege and incorporate paragraphs 1 through 42, as if fully set forth

  herein.

            79.   Defendants received a benefit at Plaintiffs’ expense when Plaintiffs provided them

  five hundred thousand dollars ($500,000.00) as part of the Kleinhendler Loan and in connection

  with the execution of the sale of the Fones Cliffs Land.

            80.   Specifically, these Defendants received the benefit of being able to use the loan

  proceeds.

            81.   Defendants unjustly enriched themselves by wrongfully converting, taking, and

  using the Kleinhendler Loan.

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            82.   However, Plaintiffs did not receive any reciprocal benefit, and Defendants have

  refused to repay it, despite demands for repayment.

            83.   Therefore, Defendants have unjustly retained the benefit of the Kleinhendler Loan

  and equity dictates that Plaintiffs should be awarded restitution in an amount in excess of $300,000,

  the exact amount to be proven at trial, arising out of Defendants’ unjust enrichment.

                                    COUNT VII: CONVERSION
                           (Against all Kleinhendler and DOES 1 through 5)

            84.   Plaintiffs re-allege and incorporate paragraphs 1 through 42, as if fully set forth

  herein.

            85.   On or about April 27, 2017, Plaintiffs provided five hundred thousand dollars

  ($500,000.00) to Kleinhendler and Does 1 through 5 under the Kleinhendler Loan.

            86.   The Kleinhendler Loan is in default as alleged herein.

            87.   Plaintiffs made a demand to Defendants to repay the Kleinhendler Loan, but

  Defendants have failed and refused to repay the loan.

            88.   As a proximate result of Defendants’ conversion, Plaintiffs have suffered damages

  in the principal sum of five hundred thousand dollar ($500,000.00), which are the natural,

  reasonable, and proximate results of the conversion.

            89.   Between the time of Defendants’ conversion of the above-mentioned property and

  filing of this action, Plaintiffs have expended an amount to be determined at trial in pursuit of the

  converted property, all to Plaintiffs’ further damages.

            90.   Defendants’ acts alleged above were willful, wanton, malicious, and oppressive,

  were undertaken with the intent to defraud, and justify the awarding of punitive damages.




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                                          III. Prayer for Relief

         WHEREFORE, Applestein respectfully prays as follows:

  1.     for compensatory damages in an amount according to proof at trial but in excess of

  $7,724,200.36;

  2.     for punitive damages, as the Court deems reasonable and appropriate;

  3.     for a restitution for the Kleinhendler Loan;

  4.     for the imposition of a constructive trust over all assets of Defendants;

  5.     for costs of suit herein; and

  6.     for such other and further relief as this Court deems just and proper.


                                         JURY TRIAL DEMAND

         Plaintiffs respectfully demand a trial by jury on all claims and issues so triable pursuant to

  Rule 38 of the Federal Rules of Civil Procedure.

  Dated: December 13, 2019
         Miami, Florida

  Respectfully submitted,

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